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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 12-80364-CIV-MARRA/BRANNON

  JOHN KORMAN,

  Plaintiff,

  vs.

  AURORA LOAN SERVICES, LLC et al.,

  Defendants.
  ____________________________________/


                                    ORDER TO SHOW CAUSE

          This cause is before the Court sua sponte.

          On August 6, 2012, Defendant Karol S. Pierce filed a motion to dismiss the complaint

  (DE 59). To date, no response to the motion has been filed.

          Accordingly, it is ORDERED AND ADJUDGED that Plaintiff shall show cause within

  fourteen (14) days of the entry of this Order as to why this motion to dismiss (DE 59) should

  not be granted.

          DONE AND ORDERED in Chambers at West Palm Beach, Palm Beach County,

  Florida, this 1st day of October, 2012.

                                               ______________________________________
                                               KENNETH A. MARRA
                                               United States District Judge
